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              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 19-764V
                                   Filed: May 18, 2020
* * * * * * * * * * * * * *                 *
YOUNG KWAN JUN,                             *             UNPUBLISHED
                                            *
              Petitioner,                   *
                                            *
v.                                          *             Ruling on Entitlement; Table Injury;
                                            *             Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH                         *             Miller-Fisher Variant; Influenza
AND HUMAN SERVICES,                         *             (“Flu”) Vaccine
                                            *
              Respondent.                   *
                                            *
* * * * * * * * * * * * * * *
Gregory Spizer, Esq., Anapol Weiss, Philadelphia, PA for petitioner.
Voris Johnson, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1
Roth, Special Master:

       On May 22, 2019, Young Kwan June (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program (“the Program”)2 alleging that he
received an influenza (“flu”) vaccination on September 30, 2016, and thereafter suffered from
the Miller-Fisher variant of Guillain-Barre Syndrome (“GBS”). See Petition at 1.

        On May 18, 2020, respondent filed a report pursuant to Vaccine Rule 4(c) stating that


1
  Although this Ruling has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the
Ruling will be available to anyone with access to the internet. However, the parties may object to the
Ruling’s inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b),
each party has fourteen days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Ruling will be available to
the public. Id.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§
300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be
to 42 U.S.C. § 300aa of the Act.
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petitioner’s claim was appropriate for compensation. Resp. Rpt. at 1. Specifically, respondent
agrees with petitioner’s claim that he suffered the Table injury of GBS (Miller-Fisher variant)
following flu vaccine. Id. at 3 Respondent further states that there is not preponderant evidence
that petitioner’s GBS (Miller-Fisher variant) was due to a factor unrelated to the vaccination. Id.
Based on a review of the medical records, respondent states that petitioner has met the applicable
statutory requirements by suffering his condition for more than six months and that, therefore,
petitioner has satisfied all legal prerequisites for compensation under the Act. Id.

        A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of
respondent’s concession and a review of the record, the undersigned finds that petitioner is
entitled to compensation. This matter shall now proceed to the damages phase.

       IT IS SO ORDERED.

                                                     s/Mindy Michaels Roth
                                                     Mindy Michaels Roth
                                                     Special Master




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